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EXHIBIT A

 
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'Case'1"19-Cv:O412024uO2TCB Document 1-2 Filed 09/17/19 Page 2 of 2 PagelD# 14

5, Citizenship and Immigration Services Form I-797C, Notice of Action

 

 

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SAMER MOHAMMED WALID ALSHANTIR Notice Type: Approval Notice
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